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14

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17                                       UNITED STATES DISTRICT COURT
                                              DISTRICT OF NEVADA
18
19                                                         Case No. 3:04-CV-0703 RAM
           SHAWN VAN ASDALE and LENA VAN
20         ASDALE,                                         IGT'S MOTION FOR TRANSCRIPT OF
                                                           PROCEEDINGS ON SEPTEMBER 16, 2009
21                         Plaintiffs,
22                vs.
                                                            [FILED UNDER SEAL PURSUANT TO
23         INTERNATIONAL GAME TECHNOLOGY,                   ORDER OF THE COURT'
24                         Defendant.
25
                 COMES NOW, defendant INTERNATIONAL GAME TECHNOLOGY ("IGT"), by and
26
         through its counsel of record, Armstrong Teasdale, LLP, hereby moves this Court for an order
27
         providing the disclosure of the transcript of proceedings before the Court that took place on
28
                                                       1

                                                                  IGT's Motion For Transcript of 09/16/09
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 1    September 16, 2009, in that this action is under seal.
 2           This motion is based upon the Points and Authorities attached hereto and such further

 3   argument the Court may permit.
 4   DATED: September 18, 2009.                                ARMSTRONG TEASDALE, LLP

 5                                                             By:/s/ Richard G. Campbell Jr.
                                                                    RICHARD G. CAMPBELL, JR.
 6                                                                  Nevada State Bar No. 1832
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                                    POINTS AND AUTHORITIES
        This action involves an employment dispute between plaintiffs, former in-house attorneys for
 IGT. The plaintiffs have asserted claims for relief regarding their termination from IGT, including
 claim for whistleblower protection under the Sarbanes-Oxley Act for alleged retaliation in response

to allegations against IGT management for securities fraud against IGT's shareholders.

        At the time the action was commenced, the plaintiffs requested that the action be placed unde
 seal, which the Court has since ordered. As a result, any party to this action must seek Co
permission to obtain a transcript of any proceedings taking place before the Court.
        On September 16, 2009, a status hearing took place wherein the Court and counsel addressed

 several outstanding issues. At this time, IGT seeks to have a transcript of the proceeding,

necessitating the filing of this motion.
        Therefore, IGT respectfully requests this Court to grant its motion to allow a transcript of the

 September 16, 2009, proceeding to be provided to IGT.


DATED: September 18, 2009.                              ARMSTRONG TEASDALE, LLP

                                                        By:/s/ Richard G. Campbell, Jr.
                                                                RICHARD G. CAMPBELL, JR.
                                                                Nevada State Bar No. 1832
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                                                               IGT's Motion For Transcript of 09/16/09
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                                             ORDER


      Defendant's motion for transcript of proceedings on September 16, 2009, is HEREBY
GRANTED.

                 22nd
      Dated this    day of September 2009.




                                         HON. ROBERT A. MCQUAID
                                         UNITED STATES MAGISTRATE JUDGE




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                                      CERTIFICATE OF SERVICE
         I, Zabett Bozzone, declare that:

         I am over 18 years of age and not a party to, or interested in, the within entitled action. I am
 an employee of Armstrong Teasdale, LLP located at 50 West Liberty Street, Suite 950, Reno,
 Nevada, 89501.

         On September 9, 2009, I served the following document:

     IGT'S MOTION FOR TRANSCRIPT OF PROCEEDINGS ON SEPTEMBER 16, 2009

 [X] BY MAIL [N.R.C.P. 5(b)] I caused each envelope to be placed for deposit with the U.S. Postal
 Service in a sealed envelope, with postage prepaid, and that each envelope was placed for collection

 and mailing on that date following ordinary business. I am readily familiar with the business practice

 at my place of business for collection and processing of correspondence for mailing with the
 U.S. Postal Service. Correspondence so collected and processed is deposited with the U.S. Postal
 Service that same day in the ordinary course of business. I am aware that on motion of the party
 served, service is presumed invalid if postal cancellation date or postage meter date is more than one

 day after date of deposit for mailing in affidavit;


                                           Margo Piscevich, Esq.
                                            Mark J. Lenz, Esq.
                                            Piscevich & Fenner
                                        499 W. Plumb Lane, Ste 201
                                             Reno NV 89509
 Executed on September 18, 2009, at Reno, Nevada.
 [X] (Federal) I declare that I am employed in the office of a member of the bar of this court at
 whose direction the service was made.

                                                            /s/ Zabett Buzzone
                                                            Zabett Buzzone
